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           IN THE UNITED STATES DISTICT COURT FOR THE SOUTHERN
                  DISTRICT OF TEXAS – CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA

Vs.                                                       Case No. 2:20-CR-01217

Sofia Tijerina, et al


          UNOPPOSED MOTION FOR RELEASE OF MATERIAL WITNESSES



         COMES NOW, Alicia G. Cuellar, Attorney for the material witnesses in the above-
captioned case, Plutarco Gonzalez-Reyes and Jesus Utrera-Abertano, (hereinafter referred to
as “material witnesses”) and moves this Honorable Court for the release of the material witnesses
from the custody of the U.S. Marshal Service and into the custody of the Bureau of Immigration
and Customs Enforcement in support thereof would show the following:
         On February 24, 2021, both material witnesses were depose in person by AUSA Amanda
Gould and defense counsel, Carlos Omar Reyna.
         The co-defendant, Ivar Cantu pled guilty on February 1, 2021 before US Magistrate
Judge Jason B. Libby.
        The material witnesses have no other pending charges known or anticipated by the
government.


      WHEREFORE, PREMISES CONSIDERED, Movant respectfully moves the Court for the
release of Material Witnesses, Plutarco Gonzalez-Reyes and Jesus Utrera-Abertano into the
custody of the Bureau of Immigration and Customs Enforcement.
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Page 2 – Unopposed Motion for the Release of the Material Witnesses




                                       Respectfully submitted,
                                        /s/ Alicia G. Cuellar
                                        ALICIA G. CUELLAR
                                        FBN: 426360 SBN: 08122500
                                        P.O. BOX 7608
                                        CORPUS CHRISTI, TEXAS 78467
                                        PHONE NO. (361) 854-5951
                                        FAX NO. (361) 808-9919



                          CERTIFICATE OF SERVICE


          I, Alicia G. Cuellar, do hereby certify that on February 25, 2021 a true and
correct copy of this Motion was sent by email to AUSA, Amanda Gould and to defense
counsel, Carlos Omar Reyna and Frank Morales
                                                 /s/ Alicia G. Cuellar
                                                 Alicia G. Cuellar
                                                 Attorney for Material Witnesses


                      CERTIFICATE OF CONSULTATION

             On February 25, Movant did consult with AUSA, Amanda Gould and US Public
Defender, Frank Morales and defense counsel, Carlos Omar Reyna all stated to they were
unopposed to the release of the material witnesses.

                                                 /s/ Alicia G. Cuellar
                                                 Alicia G. Cuellar
                                                 Attorney for the Material Witnesses
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          IN THE UNITED STATES DISTICT COURT FOR THE SOUTHERN
               DISTRICT OF TEXAS – CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA

Vs.                                                     Case No. 2:20-CR-01217

Sofia Tijerina, et al


                 ORDER GRANTING UNOPPOSED MOTION FOR THE
                      RELEASE OF MATERIAL WITNESSES

          The Court having considered the material witness’ attorney, Alicia G. Cuellar’s

Unopposed Motion for the Release of the Material Witnesses, Plutarco Gonzalez-Reyes and

Jesus Utrera-Abertano and find the material witnesses in this case should be released from the

custody of the United States Marshal Service and be delivered to the Bureau of Immigration and

Customs Enforcement. Further, the material witnesses have no pending charges known or

anticipated by the government.

       IT IS THEREFORE ORDERED that the material witness, Plutarco Gonzalez-Reyes

and Jesus Utrera-Abertano, be released forthwith from the custody of the U.S. Marshal Service

and into the custody of the Bureau of Immigration and Customs Enforcement.

        IT IS FURTHER ORDERED that the Clerk of the Court shall provide a copy of this

order to the United States Marshal Service.

        SIGNED AND ORDERED at Corpus Christi, Texas on this the _______day of

____________________, 2021.

                                  ________________________________________
                                            JUDGE PRESIDING
